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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WISK AERO LLC,                                         Case No. 3:21-cv-02450-WHO
                                                         Plaintiff,
                                   8
                                                                                                ORDER DENYING MOTION TO
                                                   v.                                           STRIKE AND DISMISS
                                   9

                                  10     ARCHER AVIATION INC.,                                  Re: Dkt. No. 118
                                                         Defendant.
                                  11

                                  12
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 United States District Court




                                  13                                              INTRODUCTION

                                  14           Plaintiff Wisk Aero LLC (“Wisk”) alleges that defendant Archer Aviation Inc. (“Archer”)

                                  15   misappropriated its trade secrets and infringed its patents when developing an all-electric vertical

                                  16   takeoff and landing (“eVTOL”) aircraft. Archer countersued, claiming that Wisk’s publicity

                                  17   campaign associated with the suit constitutes tortious interference with contractual and economic

                                  18   relations, defamation, and an unfair business practice. The heart of its claims is that Wisk wrote

                                  19   several blog posts and a press release that accused Archer of theft of trade secrets and, in one case,

                                  20   stated that the federal government was conducting a criminal investigation “into” Archer.

                                  21   According to Archer, the trade-secret allegations are false. It is not disputed that Archer was not

                                  22   under criminal investigation—it had been subpoenaed in one related to an investigation into an

                                  23   employee.

                                  24           Wisk now moves to strike those claims under California’s anti-SLAAP law or dismiss

                                  25   them in the alternative. Its motion is denied. Though the challenged statements were about a

                                  26   matter of public interest, Wisk has not shown that they are privileged or otherwise immune from

                                  27   creating liability. Archer has adequately pleaded them. And whether the statements are indeed

                                  28   true or can create tort liability is a matter for the merits.
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                                   1                                             BACKGROUND

                                   2            The allegations in the complaint in this case were discussed in detail in a recent denying

                                   3   Archer’s partial motion to dismiss. See Dkt. No. 133. In brief, Wisk alleges that Archer

                                   4   misappropriated a large group of its trade secrets related to Wisk’s eVTOL aircraft when

                                   5   developing its own. See id. at 22–26.

                                   6            On April 6, 2021, when Wisk filed this suit, it published a post on its own online blog. See

                                   7   Dkt. No. 90-1 (“Blog Post”). On May 19, 2021, it updated it. Id. The original post was entitled

                                   8   “Why We’re Taking Legal Action Against Archer Aviation.” Id. at 2.1 It first laid out Wisk’s

                                   9   history and a summary of eVTOL aircraft. Id. at 3–4. Because it is the centerpiece of the current

                                  10   motion, I reproduce the part discussing Archer in full:

                                  11            Unfortunately, and as discussed in the Complaint we ﬁled earlier today, it appears that
                                                Archer Aviation, a new entrant in the eVTOL market, is seeking to gain a foothold in this
                                  12            industry without respecting the rules of fair competition. As detailed in the Complaint, we
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                                  13            have discovered signiﬁcant and troubling evidence indicating that Archer has been using
                                                Wisk’s proprietary intellectual property without our permission. Among other things, we
                                  14            discovered the misappropriation of thousands of highly conﬁdential ﬁles containing very
                                                valuable trade secrets, as well as the use of signiﬁcant innovations Wisk has patented.
                                  15            Wisk’s conﬁdential, proprietary trade secrets and patented innovations represent the hard
                                                work and dedication of hundreds of Wisk’s engineers over multiple years. Today we took
                                  16            legal action to ask a federal court to stop Archer from using that stolen Wisk technology
                                  17            and from infringing our patents. This isn’t a step we wanted to take, but we must protect
                                                our IP and the decade’s worth of work and innovation we’ve put into Wisk. Here’s some
                                  18            more context.

                                  19            Archer’s Actions

                                  20            Archer has made a series of recent pronouncements about its technology and business that
                                                surprised the industry, including that it would soon release its own eVTOL aircraft. Just a
                                  21            year ago, Archer appeared to have little or no meaningful operations, let alone the years of
                                                research, development, and testing required to ﬂy even a prototype of an eVTOL aircraft.
                                  22
                                                Archer’s stated timeline for releasing an aircraft was a fraction of the time taken by its
                                  23            serious competitors, using a fraction of the number of employees of those competitors. The
                                                development of an entirely new kind of passenger aircraft requires years of engineering
                                  24
                                                and signiﬁcant expertise to get right, as demonstrated by Wisk and the other leading
                                  25            players in this space. For example, after 10 years of hard engineering and testing, Wisk is
                                                currently developing its sixth-generation aircraft, which it plans to certify with the U.S.
                                  26            Federal Aviation Administration (FAA). We believe it is virtually impossible for Archer to
                                                have produced an originally-designed aircraft in this timeframe that has gone through the
                                  27

                                  28   1
                                           References to exhibits are to their ECF-generated page numbers.
                                                                                          2
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                                           necessary testing and is ready for certiﬁcation with the FAA.
                                   1
                                           The design that Archer released for its eVTOL aircraft was particularly surprising. As
                                   2       detailed in our Complaint, it appears to copy the same design that Wisk developed and
                                   3       submitted in a conﬁdential patent application to the U.S. Patent and Trademark Oﬀice in
                                           January 2020. The copied design includes six front rotors that each consist of ﬁve blades
                                   4       and can tilt to be positioned either horizontally or vertically, as well as six rear rotors that
                                           each consist of two blades and remain ﬁxed in a vertical position. The design also includes
                                   5       an unconventional “V” tail. A comparison of Wisk and Archer’s designs is shown below:
                                           As detailed in our Complaint, the striking similarity in these designs could not have been a
                                   6

                                   7

                                   8

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                                  11
                                           coincidence. The same month that Wisk submitted its patent application, Archer hired ten
                                  12       of Wisk’s engineers. Concerned about this targeted recruiting, Wisk hired a third party to
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                                           conduct a forensic investigation. That investigation yielded troubling information. We
                                  13       discovered that one of those engineers downloaded thousands of Wisk ﬁles near midnight,
                                  14       shortly before he announced his resignation and immediately departed to Archer. Those
                                           ﬁles contain our valuable trade secrets and conﬁdential information about Wisk’s aircraft
                                  15       development spanning the history of the company, accumulated over countless hours of
                                           incremental progress by scores of engineers. Another engineer downloaded numerous ﬁles
                                  16       containing test data just before departing for Archer. Yet another wiped any trace of his
                                           computer activities shortly before leaving for Archer.
                                  17
                                           The stolen ﬁles include a multitude of Wisk trade secrets for aircraft designs, component
                                  18       designs, system designs, manufacturing, and test data. They include voluminous
                                  19       conﬁdential presentations reporting on the development, simulation and testing of Wisk
                                           aircraft, as well as highly technical conﬁdential documents focused on research, design,
                                  20       development, testing and fabrication of speciﬁc systems, which compile years of eﬀort by
                                           engineers to develop Wisk’s proprietary technology. As our Complaint explains, the design
                                  21       Archer disclosed above reﬂects its insider knowledge of Wisk’s extensive aerodynamic test
                                           and evaluation data based on years of experimentation and modeling. The similarity in
                                  22       overall aircraft design further indicates Archer’s use of more detailed design features,
                                  23       including features related to aircraft propulsion, power management, avionics, ﬂight
                                           control, and manufacturing methodology.
                                  24
                                           The design of the aircraft submitted in Wisk’s patent application is not a result of common
                                  25       knowledge among the industry or basic eVTOL aircraft design. This is a completely new
                                           type of aircraft and other companies in the space have come up with their own distinct
                                  26
                                           designs based on their own unique innovation process, as shown below:
                                  27       [White space appears in exhibit.]
                                  28       All of this taken together – from the massive downloads and other suspicious activity that
                                                                                     3
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                                              occurred just before employee transitions to Archer, the copycat aircraft design, and
                                   1          Archer’s startlingly short operational history – have led us to conclude Archer is
                                   2          improperly using Wisk’s intellectual property, as further detailed in the Complaint.
                                       Id. at 3–8. It ended the post by saying, “[y]ou can learn more about why we’re asking the Court
                                   3
                                       for an injunction to stop Archer from using our IP, among other remedies, in our Complaint and
                                   4
                                       related press release.” Id. at 8. The words “Complaint” and “related press release” were
                                   5
                                       hyperlinks to those documents. See id.
                                   6
                                              The May 19 update said the following:
                                   7

                                   8          After Wisk ﬁled its Complaint on April 6, Archer publicly disclosed a criminal
                                              investigation relating to some of the claims Wisk brought, and Archer’s [special purposes
                                   9          acquisition company] sponsor Atlas Crest Investment Corp [(“Atlas”)] ﬁled an 8-K noting
                                              that it was reviewing these matters. Wisk is fully cooperating with the FBI and Department
                                  10          of Justice in their criminal investigation into Archer relating to the theft and use of Wisk’s
                                              intellectual property.
                                  11
                                       Id. at 2–3. Archer’s public disclosure, however, was that it had been subpoenaed in a criminal
                                  12
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                                       investigation into a former Wisk employee that joined Archer. See Lauren Hirsch and Niraj
                                  13
                                       Chokshi, Electric Aircraft Start-Up Accuses Rival of Stealing Its Secrets, New York Times, April
                                  14
                                       6, 2021, https://www.nytimes.com/2021/04/06/business/wisk-archer-lawsuit.html (“Archer also
                                  15
                                       said it had placed an employee accused in the suit on paid leave ‘in connection with a government
                                  16
                                       investigation and a search warrant issued to the employee, which we believe are focused on
                                  17
                                       conduct prior to the employee joining the company.’ Archer said it and three employees who had
                                  18
                                       worked with the individual had been subpoenaed in that investigation and were cooperating with
                                  19
                                       the authorities.”). Atlas’s SEC disclosure stated much the same. See Dkt. No. 115-8. There is no
                                  20
                                       evidence on this record that Archer is the target of a criminal investigation.
                                  21
                                              Wisk also released that press release on April 6. See Dkt. No. 90-2 (“Press Release”). It
                                  22
                                       was entitled “Wisk Aero Sues Archer Aviation for Theft of Trade Secrets and Patent
                                  23
                                       Infringement.” Two bullet points beneath the title stated, “[l]awsuit follows discovery of
                                  24
                                       suspicious file downloads and Archer's recent public disclosures,” and “[s]eeks injunction halting
                                  25
                                       use of Wisk's IP and other remedies against Archer.” Id. at 2. The press release stated, “[t]he
                                  26
                                       lawsuit alleges that Archer’s business is ‘built on intellectual property that is not its own’ and
                                  27
                                       brings claims for trade secret misappropriation and patent infringement.” Id. It gave several
                                  28
                                                                                          4
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                                   1   descriptions of the allegations in the suit preceded by “[a]s detailed in the filing in federal court in

                                   2   the Northern District of California, this lawsuit follows:” and then said,

                                   3           •     Wisk’s discovery of suspicious file downloads by certain former employees who left
                                                     Wisk to work for Archer, including thousands of files related to Wisk's confidential
                                   4                 aircraft designs, component designs, system designs, manufacturing, and test data.
                                   5           •     Archer’s recent disclosure of an aircraft design appears to be a copy of a design Wisk
                                                     developed and submitted in a confidential patent application to the U.S. Patent and
                                   6                 Trademark Office back in January 2020. Archer’s aircraft disclosure was made in
                                                     connection with its plan to merge with Atlas Crest Corporation.
                                   7
                                               As stated in the Case complaint, “Wisk brings this lawsuit to stop a brazen theft of its
                                   8           intellectual property and confidential information, and protect the substantial investment of
                                               resources and years of hard work and effort of its employees and their vision of the future
                                   9           in urban air transportation.” Wisk Aero LLC vs. Archer Aviation Inc. (Case No. 5:21-cv-
                                  10           02450).

                                  11           Additional context for Wisk’s legal action can be found in a recent blog post.

                                  12   Id. at 2–3.
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                                  13           After Wisk filed its First Amended Complaint, Archer filed its First Amended

                                  14   Counterclaims (“CC”) [Dkt. No. 90]. As relevant here, the first counterclaim alleges interference

                                  15   with contractual relations, the second alleges interference with prospective economic advantage,

                                  16   and the third alleges defamation, and the fourth alleges violations of California’s Unfair

                                  17   Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200.2 Wisk now moves to strike or

                                  18   dismiss those claims. See Motion to Strike or Dismiss (“Mot.”) [Dkt. No. 113].

                                  19                                           LEGAL STANDARD

                                  20           California Code of Civil Procedure § 425.16 “was enacted to allow early dismissal of

                                  21   meritless first amendment cases aimed at chilling expression through costly, time-consuming

                                  22   litigation.” Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 839 (9th Cir. 2001). These lawsuits

                                  23   are also known as “Strategic Lawsuits Against Public Participation,” or “SLAPPs.” Makaeff v.

                                  24   Trump Univ., LLC, 715 F.3d 254, 261 (9th Cir. 2013). Under Section 425.16, a party may file an

                                  25   “anti-SLAPP motion” to strike “a cause of action based on an act in furtherance of [the] right to

                                  26
                                  27   2
                                        Since briefing closed on this motion, Archer filed its operative Answer and incorporated its
                                  28   counterclaims “so as to avoid any suggestion of waiver.” See Dkt. No. 142 51 n.2. Because they
                                       are unchanged, that filing did not moot the motion and no party has suggested otherwise.
                                                                                        5
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                                   1   petition or free speech.” Metabolife, 264 F.3d at 840 (internal quotations omitted).

                                   2            In ruling on an anti-SLAPP motion, a court engages in a two-step process. Equilon

                                   3   Enterprises v. Consumer Cause, Inc., 29 Cal.4th 53, 67 (2002). At step one, the court assesses

                                   4   whether the moving party has made “a prima facie showing that the lawsuit arises from an act in

                                   5   furtherance of its First Amendment right to free speech.” Nat’l Abortion Federation v. Center for

                                   6   Medical Progress, Case No. 15-cv-03522-WHO, 2015 WL 5071977, at *3 (N.D. Cal. Aug. 27,

                                   7   2015).

                                   8            At the first step, the moving defendant bears the burden of identifying all allegations of
                                                protected activity, and the claims for relief supported by them. When relief is sought based
                                   9            on allegations of both protected and unprotected activity, the unprotected activity is
                                  10            disregarded at this stage. If the court determines that relief is sought based on allegations
                                                arising from activity protected by the statute, the second step is reached.
                                  11   Baral v. Schnitt, 1 Cal. 5th 376, 398 (2016).
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                                                If the moving party can establish step one, the burden shifts to the non-moving party which
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                                  13   must then show a reasonable probability that it will prevail on its claim. Makaeff, 715 F.3d at 261.
                                  14   “For a plaintiff to establish a probability of prevailing on a claim, he must satisfy a standard
                                  15   comparable to that used on a motion for judgment as a matter of law.” Price v. Stossel, 620 F.3d
                                  16   992, 1000 (9th Cir. 2010). This standard requires that a claim be dismissed if the plaintiff presents
                                  17   an insufficient legal basis, or if no reasonable jury would find in its favor. Metabolife, 264 F.3d at
                                  18   840; see also Price, 620 F.3d at 1000 (an anti-SLAPP motion will be granted if the plaintiff
                                  19   “presents an insufficient legal basis for the claims or when no evidence of sufficient substantiality
                                  20   exists to support a judgment for the plaintiff”) (internal quotations omitted). But when the step-
                                  21   two analysis depends on the defendant’s assertion that a privilege applies, the defendant bears the
                                  22
                                       burden of establishing it. See Mandel v. Hafermann, 503 F. Supp. 3d 946, 963–64 (N.D. Cal.
                                  23   2020) (collecting authorities).
                                  24                                               DISCUSSION
                                  25   I.       ANTI-SLAPP STEP ONE
                                  26            A defendant satisfies the first step of the analysis by demonstrating that the “conduct by
                                  27   which plaintiff claims to have been injured falls within one of the four categories described in
                                  28
                                                                                          6
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                                   1   subdivision (e) [of Section 425.16] . . . and that the plaintiff’s claims in fact arise from that

                                   2   conduct.” Rand Res., LLC v. City of Carson, 6 Cal.5th 610, 620 (2019) (internal quotation marks

                                   3   and citations omitted). The four categories in subdivision (e) describe conduct “in furtherance of a

                                   4   person’s right of petition or free speech under the United States or California Constitution in

                                   5   connection with a public issue.” Cal. Civ. Proc. Code § 425.16(e).

                                   6           Wisk argues that several of these categories apply. I agree with it that the challenged

                                   7   statements at least qualify as “conduct in furtherance of the exercise of the constitutional right of

                                   8   petition or the constitutional right of free speech in connection with a public issue or an issue of

                                   9   public interest.” Cal. Civ. Proc. Code § 425.16(e).

                                  10           There is no bright-line rule to evaluate whether speech or conduct falls within this “catch-

                                  11   all” category. Healthsmart Pac., Inc. v. Kabateck, 7 Cal. App. 5th 416, 427 & n.7 (2016), as

                                  12   modified (Jan. 10, 2017). The California Court of Appeal has, several times, synthesized large
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                                  13   groups of authorities and “developed multiple tests to determine whether a defendant’s activity is

                                  14   in connection with a public issue.” Hilton v. Hallmark Cards, 599 F.3d 894, 906 (9th Cir. 2010).

                                  15   A “commonly cited test,” id., looks to whether the statements (1) “concerned a person or entity in

                                  16   the public eye,” (2) “could directly affect a large number of people beyond the direct participants,”

                                  17   or (3) concerned “a topic of widespread, public interest.” Rivero v. Am. Fed’n of State, Cty., &

                                  18   Mun. Emps., AFL-CIO, 105 Cal. App. 4th 913, 924 (2003). The Court of Appeal has elsewhere

                                  19   provided “guiding principles” on the question:

                                  20           First, “public interest” does not equate with mere curiosity. Second, a matter of public
                                               interest should be something of concern to a substantial number of people. Thus, a matter
                                  21           of concern to the speaker and a relatively small, specific audience is not a matter of public
                                  22           interest. Third, there should be some degree of closeness between the challenged
                                               statements and the asserted public interest; the assertion of a broad and amorphous public
                                  23           interest is not sufficient. Fourth, the focus of the speaker’s conduct should be the public
                                               interest rather than a mere effort to gather ammunition for another round of private
                                  24           controversy. Finally, those charged with defamation cannot, by their own conduct, create
                                               their own defense by making the claimant a public figure. A person cannot turn otherwise
                                  25           private information into a matter of public interest simply by communicating it to a large
                                  26           number of people.
                                       Weinberg v. Feisel, 110 Cal. App. 4th 1122, 1132–33 (2003) (internal quotation marks, citations,
                                  27
                                       and alteration omitted).
                                  28
                                                                                           7
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                                   1           The blog post and press release qualify under this section. As evidenced by the existence

                                   2   of many news articles in well-trafficked publications, Wisk and Archer are in an industry that is a

                                   3   “topic of widespread, public interest” to a “substantial number of people”—including coverage

                                   4   specifically of them.3 In fact, Wisk and Archer’s lawsuit alone has attracted significant press

                                   5   coverage.4 Cf. Henley v. Jacobs, No. C 18-2244 SBA, 2019 WL 8333524, at *9 (N.D. Cal. Aug.

                                   6   2, 2019) (finding a “well-known” company sufficiently “in the public eye”). The content of the

                                   7   posts related to allegations that Archer—a company that was about to go public, inviting investors

                                   8   on the open market—built its business on misappropriated trade secrets. Cf. id. (“Given Uber’s

                                   9   prominence, statements about the company’s illegal and unethical practices, which include

                                  10   accusations of stealing trade secrets and conducting surveillance on competitors and politicians,

                                  11   unquestionably concern an ‘entity in the public eye’ on a matter of ‘widespread, public interest.’”);

                                  12   Piping Rock Partners, Inc. v. David Lerner Assocs., Inc., 946 F. Supp. 2d 957, 969 (N.D. Cal.
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                                  13   2013), aff’d, 609 F. App’x 497 (9th Cir. 2015) (finding allegations of unethical business practices

                                  14   by one company against another to qualify because they amounted to a “warning to consumers not

                                  15   to do business with plaintiffs because of their allegedly faulty business practices”). And the blog

                                  16   post (to which the press release linked) alleged that there was a criminal investigation “relating to

                                  17

                                  18   3
                                        See, e.g., Andrew J. Hawkins, GM surprises with autonomous Cadillac and flying car concepts,
                                  19   The Verge, Jan. 12, 2021, https://www.theverge.com/2021/1/12/22226778/gm-flying-car-
                                       cadillachalo-av-evtol-concept-autonomous-ces-2021; Antuan Goodwin, Archer reveals first
                                  20   photos of its Maker eVTOL air taxi, CNET, June 10, 2021, https://www.cnet.com/roadshow/
                                       pictures/archermaker-evtol-air-taxi-revealed/; Loz Blain, Stunning video shows just how quiet
                                  21   Joby’s eVTOL air taxi will be, New Atlas, Feb. 24, 2021, https://newatlas.com/aircraft/joby-
                                       aviation-evtol-video/.
                                  22   4
                                        See, e.g., Andrew J. Hawkins, Judge rejects Wisk Aero’s effort to block rival air taxi startup
                                  23   Archer from using ‘stolen’ patents, The Verge, July 23, 2021,
                                       https://www.theverge.com/2021/7/23/22590204/wisk-archer-air-taxi-lawsuit-injunction-denied;
                                  24   Phil LeBeau, Futuristic aircraft maker Archer seeks to dismiss competitor’s lawsuit claiming theft
                                       of trade secrets, CNBC, June 1, 2021, https://www.cnbc.com/2021/06/01/evtol-start-up-archer-
                                  25   seeks-to-dismiss-trade-secret-lawsuit.html; Lauren Hirsch and Niraj Chokshi, Electric Aircraft
                                       Start-Up Accuses Rival of Stealing Its Secrets, New York Times, April 6, 2021,
                                  26   https://www.nytimes.com/2021/04/06/business/wisk-archer-lawsuit.html; Tracy Rucinski, Air taxi
                                       maker Archer seeks $1 billion in damages from Boeing-backed rival, Reuters, August 11, 2021,
                                  27   https://www.reuters.com/legal/litigation/air-taxi-maker-archer-seeks-1-billion-damages-boeing-
                                       backed-rival-2021-08-11/. I take judicial notice of the of these articles’ existence (not of the truth
                                  28   of anything within) because they are publicly available on the publications’ websites. See Fed. R.
                                       Evid. 201.
                                                                                         8
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                                   1   some of the claims Wisk brought” and that the FBI and Department of Justice—public agencies

                                   2   charged with protecting the public and enforcing the law in its name—had a “criminal

                                   3   investigation into Archer relating to the theft and use of Wisk’s intellectual property.” Blog Post

                                   4   at 2–3. Cf. Healthsmart, 7 Cal. App. 5th at 430 (finding allegations of bribery of a state senator to

                                   5   relate to the public interest). All of this together removes this case from the ambit of a run-of-the-

                                   6   mill private dispute and makes it an issue of public interest.

                                   7   II.     ANTI-SLAPP STEP TWO

                                   8           Once a defendant has demonstrated that the claims against them arise out of protected

                                   9   activity, the burden shifts to the plaintiff to demonstrate that each challenged claim based on

                                  10   protected activity is legally sufficient and factually substantiated. Baral, 1 Cal.5th at 384. The

                                  11   inquiry “is limited to whether the plaintiff has stated a legally sufficient claim and made a prima

                                  12   facie factual showing sufficient to sustain a favorable judgment.” Id. at 384–85. As noted, Wisk
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                                  13   bears the burden of establishing that a privilege applies. See Mandel, 503 F. Supp. 3d at 963–64.

                                  14   Wisk argues that it is immune from liability for several reasons and that, in any event, Archer has

                                  15   failed to state any of its claims.

                                  16           A. Noerr-Pennington Doctrine

                                  17           Wisk first contends that its statements are immunized from liability by the Noerr-

                                  18   Pennington doctrine. They are not.

                                  19           “The essence of the Noerr-Pennington doctrine is that those who petition any department

                                  20   of the government for redress are immune from statutory liability for their petitioning conduct.”

                                  21   Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1006 (9th Cir. 2008). The doctrine

                                  22   stems from the First Amendment’s Petition Clause, which protects the right to “petition the

                                  23   Government for a redress of grievances.” Petitioning a court via lawsuit is no less protected than

                                  24   any other form of governmental petition. Sosa v. DIRECTV, Inc., 437 F.3d 923, 929 (9th Cir.

                                  25   2006). To analyze whether the doctrine protects Wisk from liability, the court first asks whether

                                  26   the conduct is protected. Though the core of the doctrine is statements made in litigation, it also

                                  27   protects certain “[c]onduct incidental to a lawsuit.” Theme Promotions, 546 F.3d at 1007. If the

                                  28   conduct is protected, the court then asks whether the lawsuit falls into the “sham litigation”
                                                                                         9
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                                   1   exception. Id.

                                   2           Wisk argues that its blog posts and press release are “conduct incidental to a lawsuit.”

                                   3   Mot. 7–9. Although district courts have divided on this issue, most courts within this Circuit to

                                   4   have addressed the question have concluded that a communication like this that simply describes

                                   5   the lawsuit is not protected by the doctrine. I agree.

                                   6           Conduct “incidental” to a lawsuit does not mean conduct “in any way related” to a lawsuit.

                                   7   As one court has put it, Wisk’s reading of Ninth Circuit precedent is “overly broad.” Arista

                                   8   Networks, Inc. v. Cisco Sys. Inc., No. 16-CV-00923-BLF, 2018 WL 11230167, at *11 (N.D. Cal.

                                   9   May 21, 2018). The doctrine was given its most substantial treatment by the Ninth Circuit in

                                  10   Sosa. There, the court, relying on past cases, described the test as whether conduct was

                                  11   “incidental to the prosecution of the suit.” Sosa, 437 F.3d at 929 (emphasis added). In that case,

                                  12   the court held that pre-suit demand letters could fall within the reach of the doctrine. Id. at 936.
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                                  13   As it explained, “preceding the formal filing of litigation with an invitation to engage in

                                  14   negotiations to settle legal claims is a common, if not universal, feature of modern litigation” and

                                  15   “[r]estricting such prelitigation conduct when the same demands asserted in a petition to the court

                                  16   is protected would render the entire litigation process more onerous, imposing a substantial burden

                                  17   on a party's ability to seek redress from the courts.” Id. Significant, too, is that these

                                  18   communications were often privileged under state law. Id. And demand letters also served the

                                  19   same interest as litigation because they can help resolve disputes outside of formal litigation. Id.

                                  20   at 936–37.

                                  21           The cases that Sosa relied on in formulating the “incidental to the prosecution of the suit”

                                  22   standard similarly concern extra-judicial communications with a tight connection to furthering the

                                  23   litigation and the values underlying the doctrine. One of those cases held that communications

                                  24   accepting or rejecting settlement offers were “conduct incidental to the prosecution of the suit.”

                                  25   Columbia Pictures Indus., Inc. v. Pro. Real Est. Invs., Inc., 944 F.2d 1525, 1528 (9th Cir. 1991),

                                  26   aff’d, 508 U.S. 49 (1993).5 Another held that communications in discovery are likewise incidental

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                                       5
                                  28     Columbia Pictures passingly cited one district court case that cuts against my holding here; that
                                       issue is addressed below.
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                                   1   to the prosecution of the suit. Freeman v. Lasky, Haas & Cohler, 410 F.3d 1180, 1184 (9th Cir.

                                   2   2005). The “incidental” language came from Noerr itself. That case, and the Supreme Court’s

                                   3   cases expanding on the doctrine, also show its limited scope. There, railroads carried out a

                                   4   campaign to achieve legislative reform related to truckers; the Court held that the publicity

                                   5   campaign had the “incidental” effect of harming the truckers’ perception, which was protected

                                   6   from antitrust liability. E. R. R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 142

                                   7   (1961). The Court later explained that holding: “A publicity campaign directed at the general

                                   8   public, seeking legislation or executive action, enjoys antitrust immunity even when the campaign

                                   9   employs unethical and deceptive methods. Noerr, supra, 365 U.S., at 140–141. But in less

                                  10   political arenas, unethical and deceptive practices can constitute abuses of administrative or

                                  11   judicial processes that may result in antitrust violations.” Allied Tube & Conduit Corp. v. Indian

                                  12   Head, Inc., 486 U.S. 492, 499–500, 108 S. Ct. 1931, 1936–37 (1988). And, as the Ninth Circuit
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                                  13   characterized a set of Supreme Court decisions employing the principle: “the Court held that laws

                                  14   restricting the ability of unincorporated associations to employ attorneys for their members, or to

                                  15   advise their members to seek legal advice and to recommend specific lawyers, violated the

                                  16   members’ rights of association and petition, notwithstanding that such laws did not directly restrict

                                  17   the members’ access to the courts or ability to obtain counsel independently.” Sosa, 437 F.3d at

                                  18   935 (citations omitted).

                                  19          Wisk’s blog posts and press release were not “incidental to the prosecution of the lawsuit.”

                                  20   The blog posts and press release communicated with the public about the lawsuit. But they did

                                  21   not, in any manner, affect it or advance Wisk’s interests in it. Not giving them Noerr-Pennington

                                  22   immunity also does not threaten the values underlying the doctrine: If Wisk were subject to

                                  23   liability for the blog post and press release, it would not hamper its ability to prosecute this case at

                                  24   all. It is not like pre-suit demand letters, discovery communications, or other conduct that is

                                  25   useful or necessary to successfully petition a court for redress, to give Wisk adequate “breathing

                                  26   space” to petition the court, or to achieve the materially same end as litigation.

                                  27          Other cases have so held. As one judge in this District explained when examining blog

                                  28   posts about a lawsuit, the defendant’s “communications are in one sense related to the CLI
                                                                                          11
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                                   1   litigation because they discuss the parties’ copyright dispute. However, those communications

                                   2   have no relation to the prosecution of the CLI lawsuit as they are merely statements about the

                                   3   status of the parties’ litigation and Cisco’s intellectual property rights.” Arista, 2018 WL

                                   4   11230167, at *11. Another judge in this District has found that a commercial publication that

                                   5   compared companies’ products and described one of their litigating positions against the other was

                                   6   not protected. Riverbed Tech., Inc. v. Silver Peak Sys., Inc., No. C 13-02980 JSW, 2015 WL

                                   7   12941890, at *3 (N.D. Cal. Apr. 7, 2015). It was, the court explained, not incidental to the

                                   8   prosecution of the suit even though it was “about” it. Id.

                                   9          Wisk unpersuasively attempts to distinguish these cases. Wisk tries to distinguish Arista

                                  10   on the ground that it “examined the ‘issue of how to evaluate a constitutionally protected lawsuit

                                  11   as part of a larger anticompetitive scheme,’ and found that ‘conduct incidental to [the] litigation

                                  12   [is] not protected by the Noerr-Pennington doctrine [where] Cisco used such [anticompetitive]
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                                  13   conduct as tools to further the . . . scheme.’” Reply ISO Mot. (“Reply”) [Dkt. No. 131] 7

                                  14   (alterations in Wisk’s Reply). It is true that the case involved an anti-competitive scheme, but that

                                  15   does not and did not alter the Noerr-Pennington analysis. The question there, as in any such

                                  16   analysis, was still whether the statements were protected. Not only is this plain from Arista’s

                                  17   reasoning, Arista also rejected Wisk’s primary cases as inconsistent with Sosa. Arista, 2018 WL

                                  18   11230167, at *11. (Noerr-Pennington was originally built for antitrust law, so that it cropped up

                                  19   in that context is no surprise and further shows Wisk’s attempted distinction is mistaken.) And

                                  20   though it is true that Riverbed addressed a commercial comparison document (which is not the

                                  21   situation here), its reasoning was still that Noerr-Pennington does not extend protection to

                                  22   statements merely describing litigation. See Riverbed, 2015 WL 12941890, at *3.

                                  23          Wisk also relies on a group of cases that, as noted above, disagreed with this approach and

                                  24   found that various descriptions of litigation or publicity related to litigation are protected by the

                                  25   doctrine. Mot. 8; Reply 7. I do not find them persuasive. The only case in the Ninth Circuit that

                                  26   Wisk points to largely addressed cease and desist letters, a type of communication not at issue

                                  27   here. See ABC Int’l Traders v. Yamaha Corp. of Am., NO. CV-86-7892-RSWL, 1993 U.S. Dist.

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                                   1   LEXIS 20947, at *11 (C.D. Cal. Jan. 27, 1993).6 Then, in one sentence it held that “[w]hen

                                   2   publicity is incident to a lawsuit that is not a sham, that publicity is also protected by the Noerr-

                                   3   Pennington doctrine.” Id., at *10. It offered no further explanation for that holding. In support, it

                                   4   cited two cases. The first, from the Fifth Circuit, held nothing of the sort: the cited portion held

                                   5   that threats of litigation were protected. Coastal States Mktg., Inc. v. Hunt, 694 F.2d 1358, 1367

                                   6   (5th Cir. 1983). It only mentioned “publicity” to stay that “the publicity” connected to the threats

                                   7   of litigation was protected. Id. (emphasis added).

                                   8           The other case is a decision from the District of Kansas that, as noted below, appears to be

                                   9   the wellspring for all of these cases. That case did hold that publicity attendant to a lawsuit was

                                  10   protected by the doctrine. See Aircapital Cablevision, Inc. v. Starlink Commc’ns Grp., Inc., 634 F.

                                  11   Supp. 316, 326 (D. Kan. 1986). To start, that court’s analysis elided the distinction between

                                  12   general publicity and threats about litigation, and the cases it cited were all about the protection of
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                                  13   litigation threats. See id. This aside, Aircapital did not engage with the values animating the

                                  14   Noerr-Pennington doctrine on this issue; it did not explain how mere description of the suit

                                  15   publicly affected the suit itself, let alone was incidental to its prosecution or necessary to safeguard

                                  16   the right to petition; and it long predated Sosa. It is true that the Ninth Circuit cited Aircapital in

                                  17   passing in Columbia Pictures and its parenthetical characterization was “where underlying

                                  18   litigation is not a sham, attendant publicity is protected by Noerr-Pennington doctrine.” Columbia

                                  19   Pictures, 944 F.2d at 1529. But Wisk overreads the Ninth Circuit’s stray citation as approval.

                                  20   The citation came in the substantive discussion of antitrust law, not in the court’s discussion of the

                                  21   doctrine. It was cited for the point that the antitrust claim rose or fell with the copyright action (so

                                  22   it is somewhat puzzling that the court chose that citation). See id. And the only Noerr-Pennington

                                  23   issue the court examined was the sham exception. In short, one buried and oblique reference with

                                  24   no supporting rationale about an issue not in the case does not transform one decision from the

                                  25

                                  26   6
                                         Wisk’s other case from this Circuit concerned a letter sent to customers of the other party
                                  27   announcing the litigation and putting them on notice that they may be sued for purchasing
                                       infringing products, which is a far cry from the situation here. See AirHawk Int’l, LLC v.
                                  28   TheRealCraigJ, LLC, No. SACV1600624JVSKESX, 2017 WL 3891214, at *3 (C.D. Cal. Jan. 19,
                                       2017).
                                                                                         13
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                                   1   District of Kansas into Ninth Circuit law.

                                   2           Wisk’s next case only relied on cases finding things like warning or threat letters protected,

                                   3   except for Aircapital, and did not provide substantive discussion for why mere descriptions of the

                                   4   suit should be protected. See Kemin Foods, L.C. v. Pigmentos Vegetales del Centro S.A. de C.V.,

                                   5   384 F. Supp. 2d 1334 (S.D. Iowa 2005), aff’d, 464 F.3d 1339 (Fed. Cir. 2006). And its last case

                                   6   (marked not for citation) did the same thing, citing only Kemin, Aircapital, and ABC International.

                                   7   See Cap. Health Sys., Inc. v. Veznedaroglu, No. 15-8288, 2017 WL 751855, at *13 (D.N.J. Feb.

                                   8   27, 2017).

                                   9           Finally, Wisk and the cases it relies on often cited cases in which a public relations

                                  10   campaign incident to a legislative petition was found protected. See, e.g., Reply 7. If anything,

                                  11   that highlights how inappropriate applying the doctrine here would be. Litigation, unlike

                                  12   legislation, is not influenced by public pressure campaigns, so the idea that publicity is incident to
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                                  13   prosecuting a lawsuit makes still less sense.

                                  14           Accordingly, Wisk’s blog posts and press release are not “incidental to the prosecution” of

                                  15   this litigation because they merely described it to the public.7 They are not entitled to protection

                                  16   under the Noerr-Pennington doctrine.

                                  17           B. Litigation Privilege

                                  18           Next, Wisk argues that California’s statutory litigation privilege shields its statements.

                                  19   Again, it does not.

                                  20           California Civil Code § 47(b) renders privileged a “publication or broadcast” made, among

                                  21   other things “[i]n any . . . judicial proceeding.” When it applies, the privilege is absolute and, so,

                                  22   prevents a claimant from showing it can prevail on the merits. Argentieri v. Zuckerberg, 8 Cal.

                                  23   App. 5th 768, 780 (2017). “The usual formulation is that the privilege applies to any

                                  24   communication (1) made in judicial or quasi-judicial proceedings; (2) by litigants or other

                                  25   participants authorized by law; (3) to achieve the objects of the litigation; and (4) that have some

                                  26
                                       7
                                  27     The situation described in this Order is materially different from one in which the blog post or
                                       press release served some purpose in the litigation. If, for instance, the post were part of a class
                                  28   action notice plan, a search for class members, a search for witnesses, or something similar, the
                                       reasoning here would plainly not apply.
                                                                                         14
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                                   1   connection or logical relation to the action.” Silberg v. Anderson, 50 Cal. 3d 205, 212 (1990), as

                                   2   modified (Mar. 12, 1990). The privilege exists “to afford litigants and witnesses the utmost

                                   3   freedom of access to the courts without fear of being harassed subsequently by derivative tort

                                   4   actions.” GetFugu, Inc. v. Patton Boggs LLP, 220 Cal. App. 4th 141, 152 (2013) (internal

                                   5   quotation marks, alteration, and citations omitted). California law is clear, however, that

                                   6   “republications to nonparticipants in the action are generally not privileged under the litigation

                                   7   privilege, and are thus actionable unless privileged on some other basis.” Id. (internal quotation

                                   8   marks and emphasis omitted); accord Silberg, 50 Cal. 3d at 219; Susan A. v. Cty. of Sonoma, 2

                                   9   Cal. App. 4th 88, 93 (1991).

                                  10          Wisk’s blog posts and press release are not shielded by the privilege. First, one

                                  11   requirement is that the publication be “to achieve the objects of the litigation.” Silberg, 50 Cal. 3d

                                  12   at 212. The Court of Appeal has explained that this means that the “communicative act” must be
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                                  13   “a necessary or useful step in the litigation process and must serve its purposes.” Rothman v.

                                  14   Jackson, 49 Cal. App. 4th 1134, 1146 (1996). In other words, it is not sufficient that the

                                  15   “communication’s content need only be related in some way to the subject matter of the

                                  16   litigation.” Id. (emphasis in original). As explained above in the discussion on the Noerr-

                                  17   Pennington doctrine, the press release and blog posts were not a useful or necessary step in the

                                  18   litigation and were not for purposes of achieving its objects. The only connection to the litigation

                                  19   is that the communications discussed it: their “content [was] related in some way to the subject

                                  20   matter of the litigation.” Id. As a judge in this District has explained, a “public post on the

                                  21   internet”—essentially on all fours with Wisk’s blog posts—cannot be found to further the objects

                                  22   of the litigation. Canaday v. Peoples-Perry, No. 17-CV-05602-JSC, 2017 WL 6405618, at *6

                                  23   (N.D. Cal. Dec. 15, 2017).

                                  24          Even setting this aside, Wisk’s blog posts and press release were republished to non-

                                  25   participants in the action, so they are not covered by the litigation privilege. GetFugu, 220 Cal.

                                  26   App. 4th at 152. The blog post was republished for anyone, not just those in the litigation, to read.

                                  27   The press release was affirmatively sent out to the world at large. That is why, even in one of

                                  28   Wisk’s leading cases, an emailed statement to the press that “summariz[ed] a pleading on the day it
                                                                                         15
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                                   1   was filed”—essentially on all fours Wisk’s press release—was found to not be privileged.

                                   2   Argentieri, 8 Cal. App. 5th at 784.

                                   3           Wisk’s counterarguments do not change this reality. In its Motion, Wisk countered that its

                                   4   complaint and allegations were made in a judicial proceeding. Mot. 10. That is true and

                                   5   irrelevant, the counterclaims are about the blog posts and press release. In the Reply, Wisk argues

                                   6   that they are “related to this lawsuit.” Reply 9. Again, that is true; but that is not the test, as

                                   7   described above.

                                   8           Wisk invokes an exception for when the republication is to nonparties “with a substantial

                                   9   interest in the proceeding.” GetFugu, 220 Cal. App. 4th at 152; Mot. 10. That exception does not

                                  10   apply here. Again, Wisk did not send either the blog post or the press release to someone with a

                                  11   substantial interest in the proceeding, it posted the blog entry online and sent the press release out

                                  12   to whomever would read them. Neither of Wisk’s cases on this issue are like the facts here. In
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                                  13   one, the party did post a statement on a website. FIVE Hotel FZCO v. Viceroy Hotels, LLC, No.

                                  14   B288793, 2019 WL 91567, at *7 (Cal. Ct. App. Jan. 3, 2019) (unpublished). But, in holding that

                                  15   the webpage was aimed at those with a substantial interest in the litigation, the court found that

                                  16   “[t]he Web site statement was not made to an ‘unlimited worldwide audience.’ Rather, it was

                                  17   placed on the [defendant]-owned webpage that had previously offered reservations to the hotel and

                                  18   now informed travelers why reservations were no longer offered on that page.” Id., at *8. That

                                  19   was significant in part because a court threatened to impose liability on “any other person who

                                  20   knows of this order and does anything which helps or permits the defendant to breach the terms of

                                  21   this order.” Id., at *7 (internal quotation marks omitted). Because liability would extend to those

                                  22   who did business on that website, they had a “substantial interest” in the proceedings. Id. Wisk’s

                                  23   other case found that a press release sent to buyers or prospective buyers of the company’s goods

                                  24   was transmitted to people with a substantial interest in the litigation. Weiland Sliding Doors &

                                  25   Windows, Inc. v. Panda Windows & Doors, LLC, 814 F. Supp. 2d 1033, 1041 (S.D. Cal. 2011).

                                  26   Neither of Wisk’s communications was only transmitted to those it or Archer did business with

                                  27   who may have an interest in this litigation. Wisk’s Reply attempts to reframe the question as

                                  28   whether it was transmitted to “interested parties who visit the site,” but that is quite different than
                                                                                          16
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                                   1   parties with a substantial interest in the litigation.

                                   2             C. Fair Reporting Privilege

                                   3             Wisk’s Motion initially argued that “[b]ecause Archer’s tortious interference and unfair

                                   4   competition claims are based on the transmittal of Wisk’s blog posts and press release to news

                                   5   outlets, they are barred by the California fair and true reporting privilege.” Mot. 11. Its Reply

                                   6   narrows that argument to the press release, and only to the extent that it was transmitted via a wire

                                   7   service (not, apparently, posted it on its website). Based on Wisk’s Reply, I address only this

                                   8   updated argument.

                                   9             California Civil Code § 47(d) renders privileged a “publication or broadcast” made, with

                                  10   several exceptions not relevant here, “[b]y a fair and true report in, or a communication to, a

                                  11   public journal, of . . . a judicial . . . proceeding, or . . . of anything said in the course thereof.”

                                  12   When it applies, the privilege is absolute. Healthsmart, 7 Cal. App. 5th at 431. And “[a]lthough
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                                  13   the fair report privilege is typically invoked by news media defendants, it also protects those who

                                  14   communicate information to the media.” Id.

                                  15             There appears, however, to be no real dispute between the parties. The press release

                                  16   apparently was put out both in Wisk’s website and via a wire service. Wisk does not defend the

                                  17   post on its website on the basis of this privilege (nor, presumably, could it). Archer’s Opposition

                                  18   admits that it only challenges the statement to the extent it was published on its website. See

                                  19   Opposition to the Mot. (“Oppo.”) [Dkt. No. 123] 18. Both parties will be bound by those

                                  20   representations going forward: Archer cannot impose liability for transmitting the press release to

                                  21   a wire service or the damages that resulted from that transmission; Wisk cannot argue that the

                                  22   posts on its own website are shielded by the fair reporting privilege.

                                  23             D. Failure to State a Claim

                                  24             Wisk next argues that Archer cannot make the showing that it will prevail on the merits

                                  25   because it has failed to state a claim on three of the four challenged counts.8

                                  26
                                  27

                                  28   8
                                           The motion to dismiss is derivative of the arguments made in this part of the motion to strike.
                                                                                          17
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                                   1                  i.      Interference with Contractual Relations

                                   2          Archer’s first counterclaim alleges interference with contractual relations. “The elements

                                   3   which a plaintiff must plead to state the cause of action for intentional interference with

                                   4   contractual relations are (1) a valid contract between plaintiff and a third party; (2) defendant’s

                                   5   knowledge of this contract; (3) defendant’s intentional acts designed to induce a breach or

                                   6   disruption of the contractual relationship; (4) actual breach or disruption of the contractual

                                   7   relationship; and (5) resulting damage.” Pac. Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal. 3d

                                   8   1118, 1126 (1990). Archer argues that two such contractual relationships were disrupted: (1) the

                                   9   merger with Atlas, through which Archer will go public and raise $1.1 billion, see CC ¶ 38, and

                                  10   (2) causing an employee to withdraw acceptance of a job offer. Id. ¶¶ 65–71.

                                  11          Wisk’s Motion argued that Archer had not pleaded that the Atlas contract was actually

                                  12   breached (as opposed to a mere disruption), Mot. 12, but that is unnecessary because “I follow the
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                                  13   line of cases that requires actual breach or disruption of the contractual relationship because that is

                                  14   how the California Supreme Court has stated the element.” Park Miller, LLC v. Durham Grp.,

                                  15   Ltd., No. 19-CV-04185-WHO, 2020 WL 1955652, at *10 (N.D. Cal. Apr. 23, 2020) (emphasis

                                  16   added, internal quotation marks and citation omitted).

                                  17          Wisk also contends that Archer does not allege that Wisk knew about the potential

                                  18   employee or had knowledge of the contract with them. Mot. 13. Archer’s Opposition cites a case

                                  19   in which the court held that “in order to satisfy the second element of this tort under California

                                  20   law, the Plaintiff does not have to identify the specific contractual relations which have allegedly

                                  21   been disrupted . . . . If a potential defendant was completely unaware of contractual relations with

                                  22   a third party, then it would be impossible to infer any intent to interfere on the defendant's part.

                                  23   However, such intent can certainly be inferred if the defendant knows that contractual relations

                                  24   with a third party exist, but does not know the specific identity of the contractual party.”

                                  25   Sebastian Int’l, Inc. v. Russolillo, 162 F. Supp. 2d 1198, 1203–04 (C.D. Cal. 2001). Wisk cited no

                                  26   contrary authority and did not respond to the argument in its Reply. It appears plausible that Wisk

                                  27   had reason to know that Archer was hiring employees at pace—it was a centerpiece of its

                                  28   complaint. See Dkt. No. 133 at 24 (summarizing allegations). Wisk’s only response is that this
                                                                                         18
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                                   1   argument would impose tort liability whenever a company is hiring, but that is incorrect because a

                                   2   plaintiff will ultimately have to prove the defendant’s intent to interfere.

                                   3                  ii.     Interference with Prospective Economic Advantage

                                   4          Archer’s second counterclaim alleges interference with prospective economic advantage.

                                   5   The elements of the intentional version of the tort are “(1) an economic relationship between the

                                   6   plaintiff and some third party, with the probability of future economic benefit to the plaintiff; (2)

                                   7   the defendant’s knowledge of the relationship; (3) intentional acts on the part of the defendant

                                   8   designed to disrupt the relationship; (4) actual disruption of the relationship; and (5) economic

                                   9   harm to the plaintiff proximately caused by the acts of the defendant.” Pac. Gas, 50 Cal. 3d at

                                  10   1126 & n.2. The difference between the intentional and negligent torts is that “the defendant knew

                                  11   of the existence of the relationship and was aware or should have been aware that if it did not act

                                  12   with due care its actions would interfere with this relationship and cause plaintiff to lose in whole
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                                  13   or in part the probable future economic benefit or advantage of the relationship.” N. Am. Chem.

                                  14   Co. v. Superior Ct., 59 Cal. App. 4th 764, 786 (1997). Archer alleges that it had economic

                                  15   relationships with “potential investors, lenders, and employees” that were disrupted. CC ¶ 73.

                                  16          First, Wisk contends that Archer has failed to identify a specific relationship. Archer

                                  17   argues that the same relationships are at issue as with the interference with contract claim. See

                                  18   Oppo. 21. The economic advantage claim does incorporate the contractual relations allegations.

                                  19   CC ¶ 72. On the understanding that Archer is limited to Atlas (and its individual investors) and

                                  20   the single withdrawn employee, the claim may proceed. Otherwise, I would agree with Wisk that

                                  21   Archer’s pleading is too vague to plausibly state a claim against others. See, e.g., Buxton v. Eagle

                                  22   Test Sys., Inc., No. C-08-04404 RMW, 2010 WL 1240749, at *1 (N.D. Cal. Mar. 26, 2010). The

                                  23   case will proceed on those allegations alone.

                                  24          Next, Wisk alleges that Archer has not pleaded any wrongful conduct. California law

                                  25   requires that “the defendant’s conduct be wrongful by some legal measure other than the fact of

                                  26   interference itself.” Name.Space, Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d

                                  27   1124, 1133 (9th Cir. 2015) (internal quotation marks and citation omitted). Archer, however, has

                                  28   alleged that Wisk made false representations publicly, which appears to be an independent
                                                                                         19
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                                   1   wrongful act sufficient to support liability. Rausch v. Blair, No. CV154212DSFAGRX, 2015 WL

                                   2   13283839, at *2 (C.D. Cal. Oct. 1, 2015). Wisk mustered no authority to the contrary and did not

                                   3   address the argument in reply.

                                   4           Finally, Wisk argues that Archer has not adequately pleaded proximate cause.9 Yet Archer

                                   5   has pleaded that the blog post and press release directly led to these contractual and economic

                                   6   problems—a fact that would be within its knowledge. See CC ¶¶ 70, 77. The loss of an

                                   7   employment contract as a direct result of blog posts and a press release is sufficient to plausibly

                                   8   trace the causal chain to the posts. I agree that those allegations are not as specific as they could

                                   9   possibly be, but they are sufficient to create a reasonable inference of liability, especially as

                                  10   proximate causation is a quintessential jury matter. Pac. Shores Properties, LLC v. City of

                                  11   Newport Beach, 730 F.3d 1142, 1168 (9th Cir. 2013).

                                  12                  iii.    UCL
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                                  13           The UCL provides a cause of action against business practices that are (1) unlawful, (2)

                                  14   unfair, or (3) fraudulent. See Cal. Bus. & Prof. Code §17200.

                                  15           Wisk first argues that Archer has failed to allege “unlawful” conduct under the UCL.

                                  16   Generally, “[b]y proscribing ‘any unlawful’ business practice, section 17200 ‘borrows’ violations

                                  17   of other laws and treats them as unlawful practices that the unfair competition law makes

                                  18   independently actionable.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th

                                  19   163, 180 (1999) (some internal quotation marks omitted). Wisk argues that Archer only alleges

                                  20   common-law violations, which it claims are not actionable. It misunderstands the law. Its pull-

                                  21   quote comes from the broader holding that “a common law violation such as breach of contract is

                                  22   insufficient” to make out a UCL claim. Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d

                                  23   1035, 1044 (9th Cir. 2010) (emphasis added). But the law is clear that “[t]he ‘unlawful’ practices

                                  24   prohibited by section 17200 are any practices forbidden by law, be it civil or criminal, federal,

                                  25   state, or municipal, statutory, regulatory, or court-made.” Saunders v. Superior Ct., 27 Cal. App.

                                  26   4th 832, 838–39 (1994). The Ninth Circuit has held that international interference with

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                                  28    Its Reply attempted to expand this argument to the contractual relations claim as well, but I
                                       decline to address that improper argument.
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                                   1   contractual relations can be actionable under the UCL. CRST Van Expedited, Inc. v. Werner

                                   2   Enterprises, Inc., 479 F.3d 1099, 1107 (9th Cir. 2007). Wisk has presented no principled basis to

                                   3   treat interference with economic advantage any differently—and it too is a “a tortious violation of

                                   4   duties imposed by law,” the key reason the Ninth Circuit imposed liability. Id.

                                   5          Wisk asserts that Archer has failed to allege “unfair” conduct under the UCL. It appears,

                                   6   however, that alleged misrepresentations to third parties about legal issues can constitute an

                                   7   “unfair” violation. See Luxul Tech. Inc. v. Nectarlux, LLC, 78 F. Supp. 3d 1156, 1174 (N.D. Cal.

                                   8   2015). Without any contrary authority from Wisk (it again does not address the issue in reply), the

                                   9   claim will not be dismissed at this early stage on this basis.

                                  10          E. Truth Defense

                                  11          Wisk briefly argues that its statements were substantially true, which is a defense to some

                                  12   types of liability. See Savage v. Pac. Gas & Elec. Co., 21 Cal. App. 4th 434, 449 (1993). Its
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 United States District Court




                                  13   argument is close to undeveloped but is, in any event, rejected.

                                  14          Wisk’s statements are not mere opinions or puffery; they are capable of being proven true

                                  15   or false. Archer has adequately pleaded that they are false, so to the extent Wisk’s attack is facial,

                                  16   it fails. Most of the statements concern whether, as a factual matter, Archer misappropriated

                                  17   Wisk’s trade secrets, which Archer alleges to be false. The remaining statement is that there was a

                                  18   federal criminal investigation “into” Archer, which no one disputes is not true, so the question will

                                  19   be whether Wisk has an adequate defense to that. Nor is it enough at this stage that Wisk

                                  20   sometimes described its complaint as making these allegations, because a reasonable layperson

                                  21   might well understand Wisk to be asserting that Archer in fact did so (and some of the statements

                                  22   were not couched in that way, so it would not wholly doom the claims). To the extent Wisk’s

                                  23   attack is factual, Archer has presented sufficient evidence that it has a reasonable prospect of

                                  24   succeeding on the merits. Among other things, I previously found that Wisk, in an evidentiary

                                  25   showing, had not demonstrated misappropriation of trade secrets, which may mean that its

                                  26   statements were not true. See Dkt. No. 133 at 26–46. And again, the claim about the criminal

                                  27   investigation is not accurate in any event, because Archer only admitted it was subpoenaed in the

                                  28   course of the investigation into Xue, not that it itself was under investigation.
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                                   2                                        CONCLUSION

                                   3         The motion to strike and dismiss is DENIED.

                                   4         IT IS SO ORDERED.

                                   5   Dated: September 14, 2021

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                                                                                           William H. Orrick
                                   8                                                       United States District Judge
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Northern District of California
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